                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


POLLY OLSEN,

                      Plaintiff,

               v.                                           Case No. 18-C-1366

H. JEFFREY RAFN, et al.,

                      Defendant.


         NOTICE OF RULE 16(b) TELEPHONE SCHEDULING CONFERENCE


       The parties have now appeared in the above-entitled action, which has been assigned to

United States District Judge William C. Griesbach. Pursuant to Federal Rule of Civil Procedure

16(b), the Court will initiate and conduct a telephone scheduling conference on November 20,

2018 at 9:00 a.m.

       Counsel familiar with the case are expected to attend the conference by telephone.

Counsel for the plaintiff and any other attorney or party asserting a claim in the case should be

prepared to discuss the merits of their claim or claims, the likely value of each claim based on

current knowledge, the anticipated discovery needed before trial, and the cost of such discovery.

Counsel for any party against whom a claim is asserted should be prepared to discuss possible

defenses, the anticipated discovery needed before trial, and the cost of such discovery. Counsel

for each party should advise the Court whether there are any threshold issues that could dispose

of the case and be prepared to discuss ways in which such issues can be resolved quickly and

inexpensively. All counsel should be prepared to discuss whether discovery of Electronically

Stored Information (“ESI”) will be sought in this case, in what form it will be requested and costs




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of production. The purpose of the conference will be to establish a scheduling order which will

limit the time:

       (a)        to join other parties and to amend the pleadings;

       (b)        to file and hear motions;

       (c)        to complete discovery; and

       (d)        to disclose experts.

       The scheduling order may also include the date or dates for subsequent Rule 16

conferences, a final pretrial conference and trial as well as any other matters appropriate in the

circumstances of the case. The time limitations set forth in the scheduling order shall not be

modified except upon a showing of good cause and with the judge's consent. Fed. R. Civ. P.

16(b)(4).

       Special attention should be given to Fed. R. Civ. P. Rule 26(f) which requires the parties

to confer with each other at least twenty-one (21) days prior to the initial scheduling conference

referenced above.       The Rule 26(f) conference between the parties may be conducted by

telephone. Rule 26 also mandates that the parties file a written report outlining the proposed

discovery plan they have developed at their Rule 26(f) conference. The parties’ Rule 26(f) report

is to be electronically filed with the Court no later than November 13, 2018, using the Court’s

electronic case filing system.

       In addition to the matters specified in subsections (A)-(F) of Rule 26(f)(3) Fed. R. Civ. P.,

the Court requests that the proposed discovery plan submitted by the parties include a very brief

statement of the nature of the case, limited in length to several sentences.




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       The court will initiate the call. Counsel are to provide the telephone number at which

they can be reached (direct dial preferred) at least two days prior to the telephone conference. In

the event counsel are unavailable at the scheduled time of the telephone conference, the

conference may be re-scheduled and counsel may be required to appear in person. Please provide

your telephone number to the Office of the Clerk at wied_clerks_gb@wied.uscourts.gov

       SO ORDERED on October 23, 2018.

                                                     s/ William C. Griesbach
                                                     William C. Griesbach, Chief Judge
                                                     United States District Court




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